         Case 2:12-cv-01924-SM-DPC           Document 802         Filed 12/03/24        Page 1 of 1


                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

    UNITED STATES OF AMERICA                                              CIVIL ACTION
      Plaintiff
                                                                          NO. 12-1924
    v.
                                                                          SECTION E (2)
    THE CITY OF NEW ORLEANS
      Defendant                                                           JUDGE SUSIE MORGAN

            Fourth Notice To The Public Regarding Joint Motion to Enter Sustainment Period
                               Setting Public Hearing and Hearing Dates

The United States Department of Justice and the City of New Orleans filed with the Court a “Joint Motion
To Enter Sustainment Period” for the Consent Decree, with a proposed Sustainment Plan attached.1 The
proposed Sustainment Plan is available to the public on the Monitor’s website
(www.consentdecreemonitor.com) and the Court’s website: https://www.laed.uscourts.gov/case-
information/mdl-mass-class-action/nopdconsent.

The Court issued its First Notice to the Public regarding the Motion to Enter Into the Sustainment Period
on September 27, 2024. In that First Notice, the Court invited community members to submit comments
and questions to the Court in writing by October 25, 2024. A Second Notice extended the submission
deadline to November 8, 2024. A third notice further extended the submission deadline to November 29,
2024.

The Court now sets the following schedule for the consideration of the Joint Motion:

            Public Hearing Regarding The Parties’ Joint Motion To Enter Sustainment Period
                                Tuesday, December 17, 2024, 9 am Central
                    Judge Morgan’s Courtroom; Hale Boggs Federal Courthouse; 3rd Floor

                                    Hearing On The Joint Motion
                               Wednesday, January 8, 2025, 1 pm Central
                   Judge Morgan’s Courtroom; Hale Boggs Federal Courthouse; 3rd Floor

Members of the public will be allowed to make comments at the Public Hearing. The Parties will make
presentations at the Hearing on the Joint Motion. Additionally, the Court and the Monitor will meet with
Police Community Advisory Board members in advance of the Hearing on the Joint Motion to solicit their
comments and recommendations.

Community members wishing to speak at the December 17, 2024 Public Hearing will be asked to submit a
“speaker’s card” prior to entering the courtroom. Each speaker will have no more than 5 minutes to share
the speaker’s perspective. Organizations are requested to limit speakers to two representatives in order to
accommodate all those wishing to be heard at the Public Hearing.

Audio of both hearings will be broadcast to the public. Members of the public may listen to the hearings by
dialing (504) 229-4460 and entering the Phone Conference ID: 148 804 372#.

                        New Orleans, Louisiana, this 3rd day of December, 2024.

                             ______ ___________________ ____________
                                         SUSIE MORGAN
                                UNITED STATES DISTRICT JUDGE


1
    R. Doc. 793.
